     Case 8:24-cv-01760-DSF-KES            Document 1   Filed 08/12/24   Page 1 of 13 Page ID
                                                  #:1



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     Class
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 8
                             UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10
       ERIN ROBERTSON, individually                     Case No.
11
       and on behalf of all others similarly
12     situated,
13
                                                        Class Action
14                           Plaintiff,
                v.
15                                                      JURY TRIAL DEMAND
16     FREERATEUPDATE.COM CORP.,
17
                             Defendant.
18
19
           Plaintiff Erin Robertson by her undersigned counsel, for this class action
20
21
     complaint against Defendant Freerateupdate.com Corp. (“Freerateupdate”) and

22   their present, former and future direct and indirect parent companies, subsidiaries,
23
     affiliates, agents and related entities, allege as follows:
24
25                                        I.   INTRODUCTION
26
           1.        Nature of Action: “Telemarketing calls are intrusive. A great many
27
28   people object to these calls, which interfere with their lives, tie up their phone
                                                  -1-
                                                COMPLAINT
     Case 8:24-cv-01760-DSF-KES       Document 1     Filed 08/12/24    Page 2 of 13 Page ID
                                             #:2



 1   lines, and cause confusion and disruption on phone records. Faced with growing
 2   public criticism of abusive telephone marketing practices, Congress enacted
 3
     the Telephone Consumer Protection Act of 1991. Pub. L. No. 102-243, 105 Stat.
 4
 5   2394 (1991) (codified at 47 U.S.C. § 227). As Congress explained, the law was a
 6
     response to Americans ‘outraged over the proliferation of intrusive, nuisance calls
 7
 8   to their homes from telemarketers’ id. § 2(6), and sought to strike a balance
 9   between ‘[i]ndividuals’ privacy rights, public safety interests, and commercial
10
     freedoms’ id. § 2(9).
11
12         2.     “The law opted for a consumer-driven process that would allow
13
     objecting individuals to prevent unwanted calls to their homes. The result of the
14
15   telemarketing regulations was the national Do-Not-Call registry. See 47 C.F.R. §
16   64.1200(c)(2). Within the federal government’s web of indecipherable acronyms
17
     and byzantine programs, the Do-Not-Call registry stands out as a model of clarity.
18
19   It means what it says. If a person wishes to no longer receive telephone
20
     solicitations, he can add his number to the list. The TCPA then restricts the
21
22   telephone solicitations that can be made to that number. See id.; 16 C.F.R. §
23   310.4(b)(iii)(B) (‘It is an abusive telemarketing act or practice and a violation of
24
     this Rule for a telemarketer to . . . initiat[e] any outbound telephone call to a person
25
26   when . . . [t]hat person’s telephone number is on the “do-not-call” registry,
27
     maintained by the Commission.’)…Private suits can seek either monetary or
28
                                             -2-
                                           COMPLAINT
     Case 8:24-cv-01760-DSF-KES       Document 1      Filed 08/12/24   Page 3 of 13 Page ID
                                             #:3



 1   injunctive relief. Id…This private cause of action is a straightforward provision
 2   designed to achieve a straightforward result. Congress enacted the law to protect
 3
     against invasions of privacy that were harming people. The law empowers each
 4
 5   person to protect his own personal rights. Violations of the law are clear, as is the
 6
     remedy. Put simply, the TCPA affords relief to those persons who, despite efforts
 7
 8   to avoid it, have suffered an intrusion upon their domestic peace.” Krakauer v.
 9   Dish Network, L.L.C., 925 F.3d 643, 649-50 (4th Cir. 2019).
10
           3.     Plaintiff, individually and as class representative for all others
11
12   similarly situated, brings this action against Freerateupdate.com Corp for violations
13
     of the Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”) for making
14
15   telemarketing calls to numbers on the National Do Not Call Registry, including
16   their own.
17
           4.     Because telemarketing campaigns generally place calls to thousands
18
19   or even millions of potential customers en masse, Plaintiff brings this action on
20
     behalf of a proposed nationwide class of other persons who received illegal
21
22   telemarketing calls from or on behalf of Defendant.
23
                                        II.     PARTIES
24
           5. Plaintiff is an individual.
25
           6. Defendant Freerateupdate.com Corp is a corporation with its principal
26
     place of business located in this District.
27
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                                              COMPLAINT
     Case 8:24-cv-01760-DSF-KES      Document 1      Filed 08/12/24   Page 4 of 13 Page ID
                                            #:4



 1                         III.   JURISDICTION AND VENUE
 2         7. Jurisdiction. This Court has federal-question subject matter jurisdiction
 3   over Plaintiff’s TCPA claims pursuant to 28 U.S.C. § 1331 because the TCPA is a
 4   federal statute. 47 U.S.C. § 227; Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372
 5   (2012).
 6         8. Personal Jurisdiction: This Court has personal jurisdiction over
 7
     Defendant because they are located in this District.
 8
           9. Venue: Venue is proper in this District pursuant to 28 U.S.C. §
 9
     1391(b)(1)-(2) because a substantial part of the events giving rise to Plaintiff’s
10
     claims—namely, the illegal telemarketing at issue—occurred from this District.
11
                                        IV.    FACTS
12
      A.   The Enactment of the TCPA and its Regulations
13
14         10.    In 1991, Congress enacted the TCPA in response to a growing number
15
     of consumer complaints regarding certain telemarketing practices.
16
17
           11.    § 227(c) of the TCPA requires the FCC to “initiate a rulemaking

18   proceeding concerning the need to protect residential telephone subscribers’
19
     privacy rights to avoid receiving telephone solicitations to which they object.” 47
20
21   U.S.C. § 227(c)(1).
22
           12.    The National Do Not Call Registry allows consumers to register their
23
     telephone numbers and thereby indicate their desire not to receive telephone
24
25   solicitations at those numbers. See 47 C.F.R. § 64.1200(c)(2).
26
27
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                                             -4-
                                           COMPLAINT
     Case 8:24-cv-01760-DSF-KES      Document 1     Filed 08/12/24   Page 5 of 13 Page ID
                                            #:5



 1         13.    A listing on the Registry “must be honored indefinitely, or until the
 2   registration is cancelled by the consumer or the telephone number is removed by
 3
     the database administrator.” Id.
 4
 5         14.    The TCPA and implementing regulations prohibit the initiation of
 6
     telephone solicitations to residential telephone subscribers to the Registry and
 7
 8   provides a private right of action against any entity that makes those calls, or “on
 9   whose behalf” such calls are made. 47 U.S.C. § 227(c)(5); 47 C.F.R.
10
     § 64.1200(c)(2).
11
12    B.   Defendant’s Unsolicited Telemarketing to Plaintiff
13
14
           15.    Plaintiff is, and at all times mentioned herein was, a “person” as

15   defined by 47 U.S.C. § 153(39).
16
           16.    Plaintiff’s telephone number, (XXX) XXX-4337, is a non-commercial
17
18   telephone number not associated with any business.
19
           17.    Plaintiff’s telephone number, (XXX) XXX-4337, is used for personal
20
21
     residential purposes only.

22         18.    Plaintiff’s telephone number has been listed on the National Do Not
23
     Call Registry since 2023.
24
25         19.    The number is a residential telephone line because it is assigned to a
26
     telephone exchange service for consumers and is not assigned to a telephone
27
28
     exchange service for businesses.
                                             -5-
                                           COMPLAINT
     Case 8:24-cv-01760-DSF-KES     Document 1     Filed 08/12/24    Page 6 of 13 Page ID
                                           #:6



 1         20.   Plaintiff never consented to receive calls from Freerateupdate.
 2         21.   Plaintiff never did business with Freerateupdate.
 3
           22.   Despite that, Ms. Robertson received at least one text and one
 4
 5   telemarketing call from the Defendant.
 6
           23.   The text was sent on June 12, 2024:
 7
 8
 9
10
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12
13
14
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16
17
18
19
20
21
22
23
24
25         24.   When the website in the text message is clicked, it redirects to
26
     freerateupdate.com.
27
28         25.   The Plaintiff is not Igbinosa and has no affiliation with that individual.
                                           -6-
                                         COMPLAINT
     Case 8:24-cv-01760-DSF-KES        Document 1     Filed 08/12/24    Page 7 of 13 Page ID
                                              #:7



 1            26.   The Plaintiff also received a telemarketing call on June 4, 2024, which
 2   was directed to her to similarly try to sell her a home equity loan.
 3
              27.   The Plaintiff was not interested in the offering.
 4
 5            28.   The Plaintiff is alleging that Freerateupdate directly made the calls at
 6
     issue.
 7
 8            29.   Prior to this lawsuit, the Plaintiff’s counsel wrote to the Defendant
 9   regarding the telemarketing calls.
10
              30.   The Defendant did not deny making telemarketing calls to the
11
12   Plaintiff.
13
              31.   The telemarketing alleged herein: (A) invaded Plaintiff’s privacy and
14
15   solitude; (B) wasted Plaintiff’s time; (C) annoyed Plaintiff; (D) tied up Plaintiff’s
16   phone line; and (E) harassed Plaintiff.
17
18                          V.   CLASS ACTION ALLEGATIONS
19
              32.   Class Definition. Pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3),
20
21
     Plaintiff brings this case on behalf of the Class (the “Class”) defined as follows:

22                  National Do Not Call Registry Class: All persons in the United
23                  States whose (1) residential telephone numbers were on the National
                    Do Not Call Registry for at least 31 days, (2) but who received more
24                  than one telemarketing call from or on behalf of Defendant, (3) within
25                  a 12-month period, (4) at any time in the period that begins four years
                    before the date of filing this Complaint to trial.
26
27
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                                              -7-
                                            COMPLAINT
     Case 8:24-cv-01760-DSF-KES       Document 1     Filed 08/12/24    Page 8 of 13 Page ID
                                             #:8



 1          33.    Excluded from the Class are counsel, Defendant, any entities in
 2   which Defendant has a controlling interest, Defendant’s agents and employees, any
 3
     judge to whom this action is assigned, and any member of such judge’s staff and
 4
 5   immediate family.
 6
            34.    The Class, as defined above, is identifiable through telephone records
 7
 8   and telephone number databases.
 9          35.    The potential members of the Class likely number at least in the
10
     hundreds because of the en masse nature of telemarketing calls.
11
12          36.    Individual joinder of these persons is impracticable.
13
            37.    Additionally, the disposition of the claims in a class action will
14
15   provide substantial benefit to the parties and the Court in avoiding a multiplicity of
16   identical suits.
17
            38.    Plaintiff is a member of the Class and will fairly and adequately
18
19   represent and protect the interests of the Class as she has no interests that conflict
20
     with any of the class members.
21
22          39.    Plaintiff and all members of the Class have been harmed by the acts of
23   Defendant, including, but not limited to, the invasion of their privacy, annoyance,
24
     waste of time, and the intrusion on their telephone that occupied it from receiving
25
26   legitimate communications.
27
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                                             -8-
                                           COMPLAINT
     Case 8:24-cv-01760-DSF-KES       Document 1      Filed 08/12/24   Page 9 of 13 Page ID
                                             #:9



 1         40.    This class action complaint seeks injunctive relief and money
 2   damages.
 3
           41.    There are numerous questions of law and fact common to Plaintiff and
 4
 5   members of the Class. These common questions of law and fact include, but are
 6
     not limited to, the following:
 7
 8                a.      whether Defendant systematically made multiple telephone
 9   calls to members of the National Do Not Call Registry Class;
10
                  b.      whether Defendant made calls to Plaintiff and members of the
11
12   National Do Not Call Registry Class without first obtaining prior express written
13
     consent to make the calls; and
14
15                c.      whether members of the Class are entitled to treble damages
16   based on the willfulness of Defendant’s conduct.
17
           42.    Plaintiff’s claims are typical of the claims of the Class.
18
19         43.    Plaintiff’s claims, like the claims of Class, arise out of the same
20
     common course of conduct by Defendant and are based on the same legal and
21
22   remedial theories.
23         44.    Plaintiff is an adequate representative of the Class because her
24
     interests do not conflict with the interests of the Class, she will fairly and
25
26   adequately protect the interests of the Class, and she is represented by counsel
27
     skilled and experienced in class actions, including TCPA class actions.
28
                                              -9-
                                            COMPLAINT
     Case 8:24-cv-01760-DSF-KES       Document 1 Filed 08/12/24        Page 10 of 13 Page ID
                                             #:10



 1          45.    Common questions of law and fact predominate over questions
 2    affecting only individual class members, and a class action is the superior method
 3
      for fair and efficient adjudication of the controversy. The only individual question
 4
 5    concerns identification of class members, which will be ascertainable from records
 6
      maintained by Defendant and/or its agents.
 7
 8          46.    A class action is the superior method for the fair and efficient
 9    adjudication of this controversy. Class-wide relief is essential to compel Defendant
10
      to comply with the TCPA. The interests of individual members of the Class in
11
12    individually controlling the prosecution of separate claims against Defendant are
13
      small because the damages in an individual action for violation of the TCPA are
14
15    small. Management of these claims is likely to present significantly more
16    difficulties than are presented in many class claims. Class treatment is superior to
17
      multiple individual suits or piecemeal litigation because it conserves judicial
18
19    resources, promotes consistency and efficiency of adjudication, provides a forum
20
      for small claimants, and deters illegal activities. There will be no significant
21
22    difficulty in the management of this case as a class action.
23          47.    Defendant has acted on grounds generally applicable to the Class,
24
      thereby making final injunctive relief and corresponding declaratory relief with
25
26    respect to the Class appropriate on a class-wide basis. Moreover, on information
27
      and belief, Plaintiff alleges that the telephone solicitation calls made by Defendant
28
                                              - 10 -
                                            COMPLAINT
     Case 8:24-cv-01760-DSF-KES       Document 1 Filed 08/12/24       Page 11 of 13 Page ID
                                             #:11



 1    and/or its affiliates, agents, and/or other persons or entities acting on Defendant’s
 2    behalf that are complained of herein are substantially likely to continue in the
 3
      future if an injunction is not entered.
 4
 5
                               FIRST CAUSE OF ACTION
 6                         Telephone Consumer Protection Act
 7              Violations of 47 U.S.C. § 227(c)(5) & 47 C.F.R. § 64.1200(c)
            (On Behalf of Plaintiff and the National Do Not Call Registry Class)
 8
 9          48.    Plaintiff repeats the prior allegations of this Complaint and
10
      incorporates them by reference herein.
11
12          49.    The foregoing acts and omissions of Defendant constitute numerous
13    and multiple violations of the TCPA, 47 U.S.C. § 227, by making telemarketing
14
      calls, except for emergency purposes, to Plaintiff and members of the National Do
15
16    Not Call Registry Class despite their numbers being on the National Do Not Call
17
      Registry.
18
19          50.    Defendant’s violations were negligent, willful, or knowing.
20          51.    As a result of Defendant’s violations of the TCPA, 47 U.S.C. § 227,
21
      Plaintiff and members of the National Do Not Call Registry Class are
22
23    presumptively entitled to an award of between $500 and $1,500 in damages for
24
      each call made.
25
26          52.    Plaintiff and the members of the National Do Not Call Registry Class
27    are also entitled to and do seek injunctive relief prohibiting Defendant and/or its
28
                                                  - 11 -
                                                COMPLAINT
     Case 8:24-cv-01760-DSF-KES       Document 1 Filed 08/12/24            Page 12 of 13 Page ID
                                             #:12



 1    affiliates, agents, and/or other persons or entities acting on Defendant’s behalf
 2    from making telemarketing calls to telephone numbers registered on the National
 3
      Do Not Call Registry, except for emergency purposes, in the future.
 4
 5
                                     PRAYER FOR RELIEF
 6
 7          WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for
 8    the following relief:
 9
            A.     Certification of the proposed Class;
10
11          B.     Appointment of Plaintiff as representative of the Class;
12
            C.     Appointment of the undersigned counsel as counsel for the Class;
13
14          D.     A declaration that Defendant and/or its affiliates, agents, and/or other
15    related entities’ actions complained of herein violated the TCPA;
16
            E.     An order enjoining Defendant and/or its affiliates, agents, and/or other
17
18    persons or entities acting on Defendant’s behalf from making telemarketing calls to
19
      numbers on the National Do Not Call Registry, absent an emergency circumstance;
20
21          F.     An award to Plaintiff and the Class of damages, as allowed by law;
22    and
23
            G.     Orders granting such other and further relief as the Court deems
24
25    necessary, just, and proper.
26
                              VI.          DEMAND FOR JURY
27
28          Plaintiff demands a trial by jury for all issues so triable.
                                              - 12 -
                                            COMPLAINT
     Case 8:24-cv-01760-DSF-KES   Document 1 Filed 08/12/24     Page 13 of 13 Page ID
                                         #:13



 1         Dated: August 12, 2024 PLAINTIFF, individually and on behalf of all
                                  others similarly situated,
 2
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